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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )              8:06CR184
                       Plaintiff,                 )
                                                  )
       vs.                                        )                ORDER
                                                  )
CESSAR JIMINEZ AGUILA,                            )
GREGG STEVENSON and                               )
STEVE EUGENE ENCINAS,                             )
                                                  )
                       Defendants.                )
       This matter is before the court on the motion for an extension of time by defendant
Gregg Stevenson (Stevenson) (Filing No. 33). Stevenson seeks until September 11, 2006,
in which to file pretrial motions in accordance with the progression order (Filing No. 30).
Stevenson's counsel represents that Stevenson will file an affidavit wherein he consents
to the motion and acknowledges he understands the additional time may be excludable
time for the purposes of the Speedy Trial Act . Upon consideration, the motion will be
granted. Furthermore, the deadline for filing motions will be extended for all of the co-
defendants.
       IT IS ORDERED:
       Defendant Stevenson's motion for an extension of time (Filing No. 33) is granted.
All defendants are given until on or before September 11, 2006, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between August 11, 2006 and September 11, 2006, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendants' counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 11th day of August, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
